Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 1 of 38

IN THE UNITED STATES DIS_TRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JAMES NICHOLSON, JR. : CIVIL ACTION
Plaintiff, :
v. : NO.: l'/-CV-
FRANK CIAK
and

RUSSELL REID WASTE HAULING AND
DISPOSAL SERVICE CO., INC.
Defendants.

 

NOTICE FOR REMOVAL

TO THE HON()RABLE JUDGES OF THE SAID
DISTRICT COURT OF THE UNITED STATES:

Petitioners Frank Ciak and Russell Reid Waste Hauling and Disposal Service Co., lnc. in
the above-captioned matter, hereby file the Notice of Removal of said case from the Court of
Common Pleas of Philadelphia County, Commonwealth of Pennsylvania, in Which it is now
pending, to the United States District Court for the Eastem District of Pennsylvania and in
support thereof avers as follows:

l. On or about June 3, 2017, this action Was commenced against the above captioned
Defendants by the filing of a Complaint in the Court of Common Pleas of Philadelphia County,
being docketed at June Term, 2017 No. 0052. (See Complaint attached hereto as Exhibit “A”).

2. Sei'vice of process upon Defendant Franl< Ciak Was effected on or about June 15J
2017 by certified mail delivered upon defendant Frank Ciak at 757 Swedesboro Road,
Monroeville, NJ 08343. (See Exhibit “B”).

3. Service of Process Was also made upon Defendant Russell Reid Waste Hauling

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 2 of 38

and Disposal Service Co., Inc. by certified mail delivered upon defendant Russell Reid Waste
Hauling and Disposal Service Co., Inc. on June 16, 2017. (See Exhibit “C”).

4. On June 19, 2017, Frank W. Baer, Esquire entered his appearance on behalf of
Petitioners, Frank Ciak and Russell Reid Waste Hauling and Disposal Service Co., Inc. (See
docket entries for case pending in the Court of Common Pleas of Philadelphia County attached
hereto as Exhibit “D”).

5. No other proceedings have been had in this action known to Petitioners.

6. The above-captioned action is one of Which this Court has original jurisdiction
pursuant to 28 U.S.C. §1332, and is one Which may be removed to this Court by the Defendants
Frank Ciak and Russell Reid Waste Hauling and Disposal Service Co., Inc. pursuant to the
provisions of 28 U.S.C. §1441 in that it is a civil action Wherein it is believed that Plaintiff is
claiming the matter in controversy exceeds the sum or value of $75,000 exclusive of interest and
costs and is between citizens of different states.

7. Plaintiff’s Complaint alleges damages in an unstated amount but said to exceed
$5(),000. (See Exhibit “A” at “Wherefore” clause).

8. Plaintiffs Cornplaint further alleges the plaintiff J ames Nicholson, Jr. has
suffered various serious and permanent personal injuries, including, but not limited to, disc
herniations at L4-5 and LS-Sl, cervical spine injuriesJ left leg injuries, left shoulder injuries, as
Well as other ills and injuries. (See Exhibit “A” at 114).

9. Plaintiffs Complaint alleges that Plaintiff has been obligated to receive and

undergo reasonable and necessary medical treatment and rehabilitative services for the injuries

2

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 3 of 38

suffered and to incur various expenses for said treatment and Services Which are or may be in
excess of the applicable medical policy limits. (See Exhibit “A” at 115).

10. Plaintiffs Complaint further alleges that Plaintiff has or may suffer severe actual
loss of his gross income. (See Exhibit “A” at 717).

11. Plaintiff s Complaint further alleges that Plaintiff has or may suffer impairment of
his earning capacity and power. (See Exhibit “A” at 1118).

12. Plaintiff’ s Complaint further alleges that Plaintiff has been caused to incur other
financial expenses and losses Which have or may exceed amounts Which he may otherwise be
entitled to recover. (See Exhibit “A” at 1119).

13. Plaintiff s Complaint further alleges that Plaintiff has suffered physical pain,
aches, mental anguish, humiliation, inconveniences, and loss of life’s pleasures and he may
continue to suffer same for an indefinite time in the future. (See Exhibit “A” at 1721).

14. Plaintiffs Complaint further alleges that he has been unable to attend to his daily
chores, duties and occupations and may be unable to do so for an indefinite period of time in the
future. (See Exhibit “A” at 122).

15. Petitioner, Frank Ciak is an adult individual Who is a citizen of Nevv Jersey and
resides at 757 vaedesboro Road, Monroeville, NJ 08343. (See Exhibit “A”).

16. Petitioner, Russell Reid Waste Hauling and Disposal Service Co., Inc. is a New
Jersey Corporation and maintains a principal place of business at 200 Smith Street, Keasbey, NJ

08832. (see Exhibit “A”).

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 4 of 38

17. Based upon the foregoing, it is respectfully submitted that there is complete
diversity of citizenship

18. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a) in that
the parties are citizens of different states and the amount in controversy, exclusive of interest and
costs, exceeds the sum of $75,000 based on the allegations contained in the Complaint filed in
the state court.

19. This Notice of Removal is being timely filed pursuant to 28 U.S.C. §1332(b),
which provides in pertinent part that “ [t]he notice of removal of a civil action or proceeding
shall be filed within thirty (3 0) days after the receipt by the defendants, through service or
otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such
action or proceeding is based.” Petitioners Frank Ciak and Russell Reid Waste Hauling and
Disposal Service Co., Inc. were served with a copy of the original pleadings on or about June 12,
2017 by certified mail, return receipt requested, and as such Petitioners’ filing of the Notice of
Removal is timely.

20. Venue is proper in this Court pursuant to 28 U.S.C. §l44l(a) because it is the
“district and division embracing the place Where such action is pending”.

21. Pursuant to 28 U.S.C. §1446(d) a copy of this Notice of Removal is being served
upon counsel and a copy will promptly be filed with the Prothonotary’s Office for the Court of
Common Pleas of Philadelphia County, Pennsylvania.

22. Pursuant to 28 U.S.C. §l446(a) true and correct copies of all process, pleadings,

and orders served in the state court action are attached to this Notice of Removal.

4

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 5 of 38

WHEREFORE, Petitioners, Frank Ciak and Russell Reid Waste Hauling and Disposal
Service Co., Inc. request that the above-captioned action now pending against them in the Court
of Common Pleas, Philadelphia County, Pennsylvania, be removed to the United States District
Court for the Eastem District of Pennsylvania.

Respectfully submitted,

GIBLEY AND McWILLIAMS, P.C.

Z/MAM_

Frank W."Baer, Esquire

Attorneys for Petitioners/Defendants
Attorney I.D. No. 43866

524 N. Providence Road

Media, PA 19063

(6]0) 627-9500

(6]0) 627-2400 - fax

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 6 of 38

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

.IAMES NICHOLSON, JR. : CIVIL ACTION
Plaintiff, '
v. : NO.: l7-CV-
FRANK CIAK
and

RUSSELL RElD WASTE HAULING AN`D
DISPOSAL SERVICE CO., INC.
Defendants.

 

M
Frank W. Baer, Esquire, being sworn according to law deposes and says that he is counsel
for Petitioners Frank Ciak Russell Reid Waste Hauling and Disposal Service Co., Inc. and in the
within matter; and that he has read the foregoing Notice for Removal and believes it to be true
and correct, to the best of his knowledge, information and belief
Respectfully submittedJ

GIBLEY AND McWILLIAMS, P.C.

By: /v~/W 544/7

Frank W. B`aer, Esquire

Attorneys for Petitioners/Defendants
Attorney I.D. No. 43 866

524 N. Providence Road

Media, PA 19063

(610) 627-9500

(610) 627-2400

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 7 of 38

IN THE UNITED STATES DlSTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JAMES NICHOLSON, JR. : CIVIL ACTION
Plaintiff, :
v. : NO.: l7-CV-
FRANK CIAK
and

RUSSELL REID WASTE I-IAULlNG AND
DISPOSAL S.ERVICE CO., lNC.
Defendants.

 

PROOF OF FILING
I, Frank W. Baer, Esquire, hereby certify that a copy of the forgoing Notice of Removal
Shall be filed with the Prothonotary of the Court of Cornrnon Pleas of Philadelphia County
immediately following acceptance thereof by the U.S. District Court for the Eastem District of

Pennsylvania.

GIBLEY AND McWILLIAMS, P.C.

By: C/. ¢L-¢/',

Frank W. l§'aer, Esquire

Attorneys for Petitioners/Defendants
Attorney I.D. No. 43866

524 N. Providence Road

l\/ledia, PA 19063

(610) 627-9500

(610) 627-2400

 

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 8 of 38

Frank W. Baer, Esquire
fbaer@gibleylaw.com

Attorney I.D. No. 43866

GIBLEY AND McWILLIAMS, P.C.

 

 

524 N. Providence Road Attorney for Defendants
Media, PA 19063 Frank Ciak and Russell Reid Waste Hauling
(610)627-9500 and Disposal Service Co., lnc.
JAMES NICI-IOLSON, JR. : COURT OF COMMON PLEAS
Plaintiff, : PHlLADELPHIA COUNTY, PA
v. : JUNE TERM 2017
FRANK CIAK and RUSSELL RElD WASTE : NO.: 0052
HAULING AND DISPOSAL SERVICE
CO., INC. :
Defendants. : JURY TRIAL DEMANDED
NOTICE OF REMOVAL

 

TO THE PROTHONOTARY OF THE COURT OF
COMMON PLEAS OF PHILADELPHIA COUNTY:

Pursuant to 28 U.S.C. §§1332, 1441 and 1446, defendants, Frank Ciak and Russell Reid Waste
Hauling and Disposal Service Co., Inc. files herewith a time-stamped copy of the Notice of Removal,
which was filed in the United States District Court for the Eastern District of Pennsylvania on June 23,
2017.

Respectfully submitted,
GIBLEY AND McWILLIAMS, P. C.

By'" MaMf"- MB“’£M

bit Frank W. Baer, Esquire
Attorney for Defendants

Case 2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 9 of 38

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JAMES NICHOLSON, JR. : CIVIL ACTlON
Plaintiff,
v. : NO.: l7-CV-
FRANK CIAK
and

RUSSELL REID WASTE HAULING AND
DISPOSAL SERVICE CO., INC.
Defendants.

 

CERTIFICATE OF SERVICE
l, Frank W. Baer, Esquire, hereby certify that a copy of the attached Notice of Removal has been

served on the following individuals by first class, United States mail, postage pre-paid on this 28th day of

June, 2017:

Prothonotary Jared S. Zafran, Esquire

Philadelphia County Court of Common Pleas Stephen J. Devine, Esquire

Philadelphia, PA 19107 LAW OFFICE OF JARED S. ZAFRAN
1500 Walnut Street
Suite 1207

Philadelphia PA 19102

GIBLE?D'NRWI LIAMS, P.C.

By: 4"{"`//;“'//§.2»4
Frank W. Ba’er, Esquire’ ""
Attorneys for Petitioners/Defendants
Attorney liD. No. 43866
524 N. Providence Road
Media, PA 19063
(610) 627-9500

(610) 627-2400

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 10 of 38

EXHIBIT “A”

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 11 of 38

THE LAW OFFICE OF JARED S. ZAFRAN, LLC

By: Ja.i.'ed S. Zat`ran, Esquire
Attorney lD No: 208269

1500 Walnut Street Suite 1207
Philadelphia, PA 19102
(215) 587-0038

 

JAMES NICHGLSON, JR. :
1020 West Rocl<_land Streei
Philadelphia, PA 19141

Plaimiyj" :

v. :
FRANK CIAK
757 Swedesboro Road
Monroeville, NJ 08343 :
And :'
RussELL aero WASTE §
HAUL]NG AND DISPOSAL
SERVICE CO., INC. :
200 Smith Street '

Keasbey, NJ 08832 :
Defendaizrs :

 

NOTICE

You ha_ve been sued in court ll`y_ou wish to defend a alnsi
lhe_clnirm s_el forth iri the i'ollowm puees, you inns take
action within twenty (20) days el' er this complaint and
notice are servcd, by entering a written appearance
personally or by attorney and iling in writing with the
court your defenses or o jections i_o the ciqims set forth
against you. Yoo are_ warned that if you l`oil to do so lhe
case may proceed without you and a tgui:'lgmeni may bc
entered against you _by the court withou further notice for
any money claimed in the cor_nplaiitt or for any other claim
or i'eliell requested by the.plalntll'f’. You may lose money or
property or other rigth important to you.

You should take this paper to your lawyer tit once. lf you

o not have a lawyer or annot afford onc, o to or
telephone the oliicc set forth below to find out w ere you
can get legal help.

Philadelphia Bar Associiition _
Lowyer Rei`crral and [nt'o rmntion Service
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Philadei ma fit loan
(215) 238- 333n; T'l"Y (215) 451-6197

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,,_'.4..

PHILADELPHIA COUNTY
COURT OF COMMON PLEAS

TERM, 2017
NO.:

MAJOR JURY MATTER
ASSESSMENT OF DAMAGES
HEAR.TNG REQUESTED

AVISO

Le han demandado a listed en la corte. Si usii:r| gutere
defendersc de estes dcmandos expuesins en los poginas
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Servicio de Rcfercnci:_i E Informocioo legal
Qrie Rearlin Centcr
Filadelf'ia, P 19107

Telél`ono: [215) 233-6333; TI`Y (215) 451-6197

Case ID: 170600052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 12 of 38

THE l_,AW OFFICE OF JARED S. ZAFRAN, LLC

By: Jared S. Zafran, Esquire Attorney for Plni`nri'j*"
Attorney ]]J No: 208269

1500 Walnut Sireet, Suite 1207

Philadelphia, PA 19102

(215) 587-0038

 

JAMES NICHOLSON, JR. : PH]LADELPHIA COUNTY
1020 West Rocl-dand Stroet : COURT OF COMMON PLEAS
Philadelphia, PA 19141 '
: TERM, 2017
Piciinti']j‘” : NO.:
V. '
FRANK CIAK : MAJOR JURY MATTER
757 Swedesboro Road : ASSESSMENT OF DAMAGES
Monroevjlle, NJ 08343 : HEARU~IG REQUESTED
And
RUSSELL REID WASTE
HAULING AND DISPOSAL
SERVICE CO., ]NC.
200 Sinith Street
Keasbey, NJ 08832
Defendnnts

 

CIVl'L ACTION COM_P_'_LA[NT - __'2\/ MOTOR VEHICLE

1. Plajntit`f, James Nicholson, Jr., is an adult individual currently residing at
the above-captioned address

2. Defendant, Frank Ciak, is an adult individual currently residing at the
above-captioned address.

3. Defendant, Russell Reid Waste Hauling and Disposal Service Co., Inc.,
(hereinafter “Russell Reid”), is a corporation organized and operating under the laws of
the State of New Jersey, with offices at the above-captioned address and headquartered at

450 Raritan Ceriter Parkway Suite C/D Edison, NJ 08837.

Case ID: 170600052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 13 of 38

4. At all times relevant and material hereto, Dcfendant, Russell Reid, acted
by and through its agents, servants, workmen and!or employees

5. At all times relevant and material hereto, Defendant, Frank Ciak, was
acting in the course and scope of his agency, servitude, work auditor employment with
Defendant, Russell Reid, lnc.

6. On April 8, 2016, at approximately 9:45 A.M., Plaintiff, James Nicho]son,
.ir., was operating his vehicle traveling southbound on 20th Street, approaching its
intersection with Diamond Street, in the City and County of Philadelphia,
Commonwealth of Pennsylvania.

7. At the aforementioned time and place, Defendant, Frank Ciak, was
operating his motor vehicle and was traveling westbound on Diamond Street,
approaching its intersection with 20‘h Street, in the City and County of Philadelphia,
Comrnonwealth of Pennsylvania.

S. At the aforesaid time and place, Defendant, Frank Ciak, for reasons
unknown, failed to stop ata red light and collided with the front of the vehicle occupied
by Plaintiff Nicholson.

9. At all times material to this action, Defendant, Frank Ciak, was so careless
and/or negligent that he suddenly and without warning caused his motor vehicle to Strike
the front of Plaintiff’s vehicle

10. This accident resulted solely from the carelessness and/or negligence of
the Deferidants, and was due in no manner Whatsoever to any actor omission on behalf of

the Plairitiff.

Case ID: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 14 of 38

COUNT ONE - NEGLIGENCE
JAMES NICHOLSON JR. V. FRANK CIAK

 

ll. Plaintiff, J ames Nicholson, Jr., incorporates herein, by reference thereto,
paragraphs one through ten, inclusive, as though the same were set forth herein at length
12. The negligence and carelessness of Defendant, Frank Ciak, herein
consisted of the following:

(a) Failing to properly operate his vehicle in regard to traffic on a
street, road or highway;

(b) Failing to properly take into consideration the motor vehicles
around him;

(c) Failing to operate a motor vehicle in accordance with existing
traffic conditions and traffic controls;

(d) Failing to operate a motor vehicle under proper and adequate
control;

[e) Failing to apply the brakes in a timely manner;

(f`) Operating a motor vehicle at a speed that was excessive under the
conditions and circumstances there existing;

(g) Failing to keep a proper lookout for other motor vehicles lawfully
on the road',

(h) Failing to exercise due care for the safety of the Plaintiff;

(i) Operating a vehicle at a speed greater than was reasonable and
prudent under the conditions then and there existing, in violation of
Section 3361 of the Motor Vehic]e Code, 75 Pa.C.S. §3361;

Q) Operating a vehicle ata speed greater than would permit him to

Case ID: l70600()52

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 15 of 38

bring the vehicle to a stop within the assured clear distance ahead,
in violation of Section 3361 of the Motor Vehicle Code, 75 Pa.C.S.
§3361;

13. As a result of this accident, Plaintiff, l ames Nicholson, Jr., has suffered
injuries causing serious impairment of body function.

14. As a result of this accident, Plaintiff, James Nicholson, Jr., has suffered
injuries which are or may be serious and permanent, including, but not limited to, disc
herniations at L4-5 and LS~SI, cervical spine injuries, left leg injuries, left shoulder
injuries, as well as other ills and injuries

15. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has
been obligated to receive and undergo reasonable and necessary medical treatment and
rehabilitative services for the injuries suffered and to incur various expenses for said
treatment and services which are or may be in excess of the applicable medical policy
limits.

16. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has
been obligated to receive and undergo reasonable and necessary medical treatment and
rehabilitative services for the injuries he suffered, and to incur various expenses for said
treatment and services, and he may incur various reasonable and necessary future medical
expenses from the injuries sustained, and Defendant is liable for all the same

17. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has or
may suffer severe actual loss of his gross income

18. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has or

may suffer impairment of his earning capacity and power.

Case lD: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 16 of 38

19. As a direct and reasonable result of the accident aforen'ientioned1 Plaintiff,
J ames Nicholson, Jr., may hereafter incur other financial expenses and losses which have
or may exceed amounts which he may otherwise be entitled to recover.

20. As a direct and reasonable result of the accident aforementioned1 Plaintiff,
J ames NicholsonT Jr., may hereafter incur property damage, vehicle rental and storage
expenses and losses which have or may exceed amounts which he may otherwise be
entitled to recover.

21. As a further result of the accident aforementioned Plaintiff, J ames
Nicholson, Jr., has suffered physical pain, aches, mental anguish, and humiliation,
inconveniences and loss of life’s pleasures, and he may continue to suffer same for an
indefinite time in the future.

22. As a direct result of this accident, Plairitiff, James Nicholson, Jr., has been
unable to attend to his daily chores, duties and occupations and may be unable to do so
for an indefinite period of time in the future.

WHEREFORE, Plaintiff, l ames Nicholson, Jr., demands damages of the

Defendant, Russell Reid Waste Hauling and Disposal Service Co., lnc, in a sum

in excess of $S0,000.00 pitts interest and other relief Which the Court may deem

appropriatel

Case .lD: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 17 of 38

COUNT TWO - NEGLIGENCE
.TAMES NICHOLSON, JR. vs. RUSSELL RETD WASTE HAULING AND DISPOSAL
SERVICE CO. L`\lC.

 

23. Plaintiff, J ames Nicholson, Jr., incorporates by reference thereto,
paragraphs one through twenty-two, inclusive, as though the same were set forth in full,
at length

24. At all times relevant and material hereto, Defendant, Russell Reid, lnc.,
acted by and through its agents, servants1 workmen andfor employees

25, The negligence and carelessness of Defendant, Frank Ciak, is imputed
upon the Defendant, Russell Reid, by and through the doctrine of respondeat superior
and consisted of the following:

(a) Failing to properly operate his vehicle in regard to traffic on a
street, road or highway;

(b) Fai]ing to properly take into consideration the motor vehicles
around him;

(c) Failing to operate a motor vehicle in accordance with existing
traffic conditions and traffic controls;

(d) Failing to operate a motor vehicle under proper and adequate
control;

(e) Failing to apply the brakes in a timely manner;

(f) Operating a motor vehicle at a speed that was excessive under the
conditions and circumstances there existing;

(g) Faiiing to keep a proper lookout for other motor vehicles lawfully

on the road;

Case ID: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 18 of 38

(h) Failing to exercise due care for the safety of the Plaintiff;

(i) Operating a vehicle at a speed greater than was reasonable and
prudent under the conditions then and there existing, in violation of
Section 3361 of the Motor Vehicle Code, 75 Pa.C.S. §3361;

(j) Operating a vehicle at a speed greater than would permit him to
bring the vehicle to a stop within the assured clear distance ahead,
in violation of Section 3361 of the Motor Vehicle Code, 75 Pa.C.S.
§3361;

2?. As a result of this accident, Plaintiff, J ames Nicholson, Jr., has suffered
injuries causing serious impairment of body function

28. As a result of this accident, Plaintiff, l ames Nicholson, Jr,` has suffered
injuries which are or may be serious and permanent, including, but not limited to, disc
herniations at L4~5 and L5-S 1, cervical spine injuries, left leg injuries, left shoulder
injuries, as well as other ills and injuries

28. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has
been obligated to receive and undergo reasonable and necessary medical treatment and
rehabilitative services for the injuries suffered and to incur various expenses for said
treatment and services which are or may be in excess of the applicable medical policy
limits

29. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has
been obligated to receive and_undergo reasonable and necessary medical treatment and

rehabilitative services for the injuries he suffered, and to incur various expenses for said

Case lD: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 19 of 38

treatment and services, and he may incur various reasonable and necessary future medical
expenses from the injuries sustained, and Defendant is liable for all the same.

30. As a further result of this accident, Plaintiff, James Nicholson, Jr., has or
may suffer severe actual loss of his gross income

31. As a further result of this accident, Plaintiff, J ames Nicholson, Jr., has or
may suffer impairment of his earning capacity and power.

32. As a direct and reasonable result of the accident aforementionedl l:'laintiff1
James Nicholson, Jr., may hereafter incur other financial expenses and losses which have
or may exceed amounts which he may otherwise be entitled to recover.

33. As a direct and reasonable result of the accident aforementioned Plaintiff,
J ames Nicholson, Jr., may hereafter incur property damage, vehicle rental and storage
expenses and losses which have or may exceed amounts which he may otherwise be
entitled to recover.

34. As a further result of the accident aforementioned Plaintiff, J ames
Nicholson, Jr., has suffered physical pain, aches, mental anguish, and humiliation,
inconveniences and loss of life's pleasures, and he may continue to suffer same for an
indefinite time in the future.

35. As a direct result of this accident, Plaintiff, l ames Nicholson, Jr., has been
unable to attend to his daily chores, duties and occupations and may be unable to do so
for an indefinite period of time in the future.

WHER_EFORE, Plaintiff, J ames Nicholson, Jr., demand damages of the
Defendant, Frank Ciak, in a sum in excess of $50,000.00 plus interest and other relief

which the Court may deem appropriate

Case ID: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 20 of 38

THE LAW OFFICE OF JARED S. ZAFRAN, LLC

BY: lured S. Zafran
JARED S. ZA.FRAN, ESQUIRE
Attor'rzeyfor Plaint{]_'j"

Casc iD: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 21 of 38

W

Jared S. Zafran, Esquire, hereby deposes and swears that he is the Attorney for the
Plaintiff, James Nicholson, Jr., in this action and that the statements made in the foregoing
Complaint are true and correct to the best of his knowledge1 information and belief. The
undersigned understands that the statements therein are made subject to the penalties of 18

Pa.C.S.A. §4919 relating to unsworn falsifications to authoritiesl

THE LAW OFFICE OF JARED S. Z . ' RAN, LLC

JAREf) s. ZAFRAI€, nsQUrRE
Attorney for Plaintiff, J ames Nicholson, Jr.

 

Dated; w l M/¢_

Case [D: 170600052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 22 of 38

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J ames Nicholson, Jr., hereby states that he is Plaintiff in this action and that the
statements made in the foregoing Complaint are true and correct to the best of his
knowledge, information and belief. The undersigned understands that the statements
therein are made subject to the penalties of 18 Pa.C.S.A. §4919 relating to unsworn

falsifications to authorities

Mmj W¢da{€/M/t

frf/l)hnes Nicholson, Jr.

Dated: (e"l'f r2

Case ID: .1706()0052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 23 of 38

EXHIBIT “B”

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 24 of 38

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By: Jared S. Zafran, Esquire Attorney for ?'*Zj.il'. _;`f
Attorney ID No: 2@8269 . l _ . - ~ ~ _.

- FllL-:l ~:1e’ l.r. rees le-t the
1500 Walnut Street, Suite 1201 O€.;i.._r _,;-l jul -, - 'fl__,.:,_¢.d,l
Philadelphia, PA 19102 Jr _zr:_‘:_ f ' .
{Z`IS) 587-0038 " "
FFMIIS NICHOLSON, 3a ` PHrLaor-.wrlm CoUN'rY

1020 West Roo§:land Stl;:et : COURT OF COE\£MCJN PLEAS
Philadelphia PA 19i4l '
: JUNE 'l“?§Rl\rI, 2(`,‘§’?
Plcri)zfljff NO.: GOSZ

v.
_FRANK CIAK : N&§JOR EU.R f MA i"l`}i".R
757 Swedeshor') Road ' ltSSESSMHE‘JT OF DAMAGES

Monroevil§e, NJ 08343 ; HELARING REQUESTED
And

RUSSELL REID WASTE
§LAULING AND DISPOSAL
SER`%F§CE CO., INC.
200 Smith Street
Keasbey, NJ 08832

D/;,‘§.‘rdez¢!.~.'

AF£*`IDAV§T Gjr" SE£-i"v’l§“;;§

I, Jared S. Za.f!-;n, Esqtrire, depose and state that l served a true and correct copy o§`
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Frank Ciak, via esrtir`iel mail return receipt at 737 Swedesborn l<_oad, M`onlroevilie, NJ 0831§3, l

fm'tl'tler depose and state that the certified mailing Was received and signed for, and as soeh, service

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Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 25 of 38

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Case lD: 17060()052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 26 of 38

 
 

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Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 27 of 38

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Case H.): 1706()()052

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 28 of 38

EXHIBIT “C”

Case 2:17-cV-O2914-G.]P Document 1 Filed 06/28/17 Page 29 of 38

THE LAW OFFICE OF JARED S. ZAFRAN, LLC
By: Jared S. Zafran, Esquire

Attorney ID No: 208269

1500 Walnut Street, Suite 1207

Philadelphia, PA 19102

(215) 587-0038

 

\§i’"ml‘ii§“/

 

JAMES NICHOLSON, JR. : PHILADELPHIA COUNTY
1020 West Rockland Street : COURT OF COMMON PLEAS
Philadelphia, PA 19141 '

JUNE TERM, 2017

 

waiving § No.; 0052
v. :

FRANK CIAK M_AJOR JURY MATTER
757 Swedesboro Road : ASSESSMENT OF DAMAGES
Monroeville, NJ 08343 : HEA_RING REQUESTED
And
RUSSELL REID WASTE
HAULING AND DISPOSAL
SERVICE CO., INC.
200 Smith Street
Keasbey, NJ 08832

Defendams

AFFIDAVIT OF SERVICE

 

1, Jared S. Zai`ran, Esquire, depose and state that I served a true and correct copy of
Plaintiffs’ Complaint in Civil Action, in connection with the above-captioned action on Defendant,
Russell Reid Waste Hauling and Disposel, via certified mail return receipt at 200 Srnith Street,
Keasbey, NJ 08832. l further depose and state that the certified mailing was received and signed

for, and as such, service of process is successful upon Defendant. w Exhibit “A” attached hereto.

THE LAW OFFICE OF JARED S. ZAFRAN, LLC

BY: /¢Md ’//z¢”‘/
JA s. zAFRAi(EsQUIRE
Attorney for Plaintiff

Dated.' June 23, 2017

Case ID: 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 30 of 38

EXHIBIT

Case ID; 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 31 of 38

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Case ID; 170600052

Case J2:17-cv-02914-G.]P Document 1 Filed 06/28/17 Page 32 of 38

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Law Oftice of Jared S. Zafran, LLC
1500 Walnut Street-- Suite 1201r
Philadelphia PA 19102

 

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Case ID; 170600052

Case 2:17-cV-02914-G.]P Document 1 Filed 06/28/17 Page 33 of 38

EXHIBIT “D”

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Civil Docket Access

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Case Description

Case |D: 170600052
Case Caption: N|CHOLSON VS CIAK ETAL
Fi|ing Date: Saturday , June 03rd, 2017

Court: MAJOR JURY-EXPED|TED

Location: City Ha|i

Jury: JURY

Case Type: MOTOR VEH|CLE ACCIDENT

Status: VVA|T|NG TO L|ST CASE |ViGi\/|T CONF

Re|ated Cases

No related cases Were found.
Case Event Schedu|e

No case events Were found.
Case motions

No case motions Were found

Case Parties

 

 

Seq # Assoc Expn Date Type Name
1 ATTORNEY ZAFRAN, JARED S
FOR PLA|NT|FF

 

 

Address: LAVV OFF|CE OF Aliases: none
JARED S. ZAFRAN,
1500 WALNUT
STREET

SUiTE 1207
PHii_/-\DELPHIA PA
19102
(215)587-0033

 

 

2 1 PLA|NT|FF NICHOLSON JR,
JAi\/iES

 

 

 

 

 

 

 

 

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(610)627-9500
7 'i ATTORNEY DEViNE, STEPHEN J
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Address: JARED S. ZAFRAN Aliases: none
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Docket Entries

 

 

 

 

 

 

 

 

 

 

Filing . . Disposition Approva|l
DatelTime Docket Type F'lmg Party Amount Entry Date
03-JUN-2017 ACT|VE CASE 05-JUN-2017
11:20 PIV| 10:53 AlVi
Docket . . .
Entry: E-Fl|mg Number. 1706005822
03-JUN-2017 COMMENCEMENT OF ZAFRAN, 05-JUN-2017
11:20 PN| C|V|L ACT|ON JARED S 10:53 A|V|

 

 

 

 

Documents: Fmai Cover

 

 

 

Docket none
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03-JUN-2017 CON|PLAINT F|LED ZAFRAN, 05-JUN-2017
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DOCUmel'ltS: J NiCHOLSON V C§AK A RR WASTE 201706021¢1§423.0(11

 

Docket CO|V|PLA|NT VV|TH NOT|CE TO DEFEND WiTHiN TVVENT¥ (20) DAYS
Entry: AFTER SERV|CE iN ACCORDANCE VV|TH RULE 1018.1 F|LED.

 

 

 

 

 

 

 

 

 

03-JUN-2017 SHERIFF'S ZAFRAN, 05-JUN-2017
11:20 Pi\/l SURCHARGE 2 DEFTS JARED S 10:53 AN|
Docket none
Entry: '

 

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03-JUN-2017 VVA|T|NG TO LiST CASE ZAFRAN, 05-JUN-2017
11:20 PiVi iViGi\/iT CONF JARED S 10:53 Ai\/i
Docket
Entry: none.
15-JUN-2017 AFF|DAV|T OF SERV|CE ZAFRAN, 16-JUN-2017
04:52 P|Vi F|LED JARED S 09:33 A|Vi
Documents: c\§loHoLsoN v ClAK Aos oERT 201?0015104049.001‘
Docket AFF|DAVIT OF SERV|CE OF PLA|NTIFF'S COi\/iPLAiNT UPON FRANK
Ent _ C|AK BY CERT|F|ED iViA|L ON 06/12/2017 F|LED. (FiLED ON BEHALF
ry' oF JAMEs NchoLsoN)
19-JUN-2017 ENTRY OF BAER, 19-JUN-2017
10:58 A|Vi APPEARANCE FRANK W 11:32 A|Vi
Documents: gone-1941an
Docket ENTRY OF APPEARANCE OF FRANK W BAER F|LED. (FiLED ON
Ent _ BEHALF OF RUSSELL RE|D WASTE HAUL|NG AND D|SPOSAL
ry' SERV|CE CO., |NC AND FRANK C|AK)
19-JUN-2017 JURY TR|AL BAER, 19-JUN~2017
10:58 AiVi PERFECTED FRANK W 11:32 A|Vi
Docket
Entry: 12 JURORS REQUESTED.
19-JUN-2017 TRANSFERRED TO 19-JUN-2017
11233 AiVi iViAJOR JURY 12:00 AiVi
Docket none
Entry: '
19-JUN-20‘i7 WA|T|NG TO LiST CASE 19-JUN-2017
11233 Ai\/| iViGiViT CONF 12:00 AiVi
Docket none
Entry: '
20-JUN-2017 DEViNE, 20-JUN-2017
08:52 A|Vi STEPHEN J 12:16 PiVi
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ENTRY OF
APPEARANCE-CO
COUNSEL

Documents: EOA- egoon

 

 

 

 

Docket ENTRY OF APPEARANCE OF STEPHEN J DEV|NE AS CO-COUNSEL
Entry: F|LED. (FiLED ON BEHALF OF JAi\/iES NiCHOLSON)

 

 

23-JUN-2017 AFF|DAV|T OF SERV|CE ZAFRAN, 23-JUN-2017
03:18 PiVi F|LED JARED S 04247 PiV|

Documents: s Ncho§ son nos Ri;s_sr;g_\wa_alo 201_7_0§2314500031_01

 

 

 

 

 

AFFiDAV|T OF SERV|CE OF PLA|NTiFF'S COiViPLAiNT UPON

Docket RUSSELL RE|D WASTE HAUL|NG AND D|SPOSA|_ SERV|CE CO.l iNC
Entry: BY CERT|FIED |ViAiL ON 06/23/2017 F|LED. (FiLED ON BEHALF OF

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